Case 3:18-cv-00013-GEC Document 1 Filed 02/28/18 Page 1 of 12 Pageid#: 1




                  IN THE UNITED STATES DISTRICT COURT                           02/28/2018
                 FOR THE WESTERN DISTRICT OF VIRGINIA
                       CHARLOTTESVILLE DIVISION

KEITH CARROLL,                        )
                                      )
     Plaintiff,                       )
                                      )                  Case No:      3:18-cv-00013
v.                                    )
                                      )
                                      )
UNIVERSITY OF VIRGINIA HOST           )
PROPERTIES, INC.,                     )
                                      )
Serve: Chief Executive                )
     In His/Her Official Capacity     )
     UVA Host Properties Headquarters )
     One Boar’s Head Pointe           )
     P.O. Box 400218                  )
     Charlottesville, VA 22904        )
                                      )
     Defendant.                       )

                                     COMPLAINT

       The above-named Plaintiff, Keith Carroll, by counsel, states as his Complaint

against Defendant University of Virginia Host Properties, Inc. (“Defendant”), the

following:

                                   I. JURISDICTION

       1.     This Court has subject matter jurisdiction of this action pursuant to 28

U.S.C. § 1331 and 42 U.S.C. § 12188, for Plaintiff’s claims arising under the Americans

with Disabilities Act of 1990 (“ADA”), 42 U.S.C. § 12181 et seq.

       2.     Venue is proper in this jurisdiction pursuant to 28 U.S.C. § 1391(b)(1)-

(3) because Defendant’s principal place of business is in this District, a substantial

part of the events or omissions giving rise to Plaintiff’s claim occurred in this District,
Case 3:18-cv-00013-GEC Document 1 Filed 02/28/18 Page 2 of 12 Pageid#: 2




and Defendant is subject to personal jurisdiction in this District.

                                    II. THE PARTIES

       3.     Plaintiff is an adult resident of Virginia. Plaintiff is permanently blind

and uses a screen reader in order to access the internet and read website content, and

thus qualifies as an individual with disability as defined by the ADA, 42 U.S.C. §

12102(2), 28 C.F.R. 36.104. Despite several attempts to use and navigate Defendant’s

website, www.boarsheadresort.com, Plaintiff has been denied the full use and

enjoyment of the facilities, services, privileges, advantages, and accommodations of

boarsheadresort.com as a result of accessibility barriers on boarsheadresort.com.

The access barriers on boarsheadresort.com have caused a denial of Plaintiff’s full

and   equal    access   multiple   times.       Similarly,   the   access   barriers   on

boarsheadresort.com have deterred Plaintiff from using Defendant’s online services,

privileges, advantages, and accommodations and likewise visiting Defendant’s Boar’s

Head Resort location in Charlottesville, Virginia.

       4.     Plaintiff is informed and believes, and thereon alleges, that Defendant is

a Virginia corporation with its principal place of business located in Charlottesville,

Virginia. Plaintiff is informed and believes, and thereon alleges, that Defendant owns

and operates the Boar’s Head Resort in Virginia. The Boar’s Head Resort location

constitutes a place of public accommodation. Defendant’s location provides to the

public important goods and/or services, privileges, advantages, and accommodations.


                                            2
Case 3:18-cv-00013-GEC Document 1 Filed 02/28/18 Page 3 of 12 Pageid#: 3




Defendant    also    provides   to   the    public     the    boarsheadresort.com    website.

Boarsheadresort.com provides access to Defendant’s array of services, privileges,

advantages, and accommodations, including, but not limited to, a locator for

Defendant’s location so that a potential customer may determine from the website

whether to visit the location, descriptions of its types of amenities and services, other

pages that enable users to determine Defendant’s products and services, privileges,

advantages, and accommodations, and many other benefits related to Defendant’s

facilities and services, privileges, advantages, and accommodations.             Defendant’s

location is a public accommodation within the definition of Title III of the Americans

with Disabilities Act of 1990 (“ADA”), 42 U.S.C. § 12181(7).                  Based on the

information, services, tools, and locators related to Defendant’s location provided on

Defendant’s website, boarsheadresort.com is a service, privilege, advantage, and

accommodation       of   Defendant’s       location.         Additionally,   based   thereon,

boarsheadresort.com is a service, privilege, advantage, and accommodation that is

heavily integrated with this location.

       5.     At all times relevant to the Complaint, Defendant was acting through its

agents, servants and/or employees.


                            III. FACTUAL BACKGROUND

                    Applicability of the ADA to Commercial Websites

       6.     The internet has become a significant source of information, a portal

                                              3
Case 3:18-cv-00013-GEC Document 1 Filed 02/28/18 Page 4 of 12 Pageid#: 4




and tool for conducting business, and a means for doing everyday activities such as

shopping, banking, etc. for both the sighted and blind, and/or visually-impaired

persons.

      7.     Blind individuals may access websites by using keyboards in

conjunction with screen-reading software that vocalizes visual information on a

computer screen. Screen access software provides the only method by which a blind

person may independently access the internet. Unless websites are designed to be

read by screen reading software, blind persons are unable to fully access websites and

the information, products and services, privileges, advantages, and accommodations

contained thereon.

      8.     The international website standards organization, W3C, has published

version 2.0 of the Web Content Accessibility Guidelines (“WCAG 2.0”). WCAG 2.0

are well-established guidelines for ensuring websites are accessible to blind and

visually-impaired people. These guidelines are successfully followed by numerous

large business entities to ensure their websites are accessible.     These guidelines

recommend several basic components for making websites accessible including, but

not limited to:   adding invisible alternative text to graphics; ensuring that all

functions can be performed using a keyboard and not just a mouse; ensuring that

image maps are accessible; and adding headings so that blind people can easily

navigate websites. Without these very basic components, a website will be

inaccessible to a blind or visually-impaired person using a screen reader.

      9.     Within this context, numerous federal courts have recognized the
                                           4
 Case 3:18-cv-00013-GEC Document 1 Filed 02/28/18 Page 5 of 12 Pageid#: 5




viability of ADA claims against commercial website owners/operators with regard to

the accessibility of such websites.

    The Inaccessibility of Defendant’s Website to the Visually-Impaired

         10.   Defendant offers the commercial website, boarsheadresort.com, which

provides, as set forth above, a breadth of information concerning the location it

operates, information and descriptions of its amenities and services, privileges,

advantages, and accommodations, and allows users to find the location for them to

visit.   Robles v. Yum! Brands, Inc., Case No 2:16-cv-08211-ODW(SS), 2018 WL

566781, at *8 (C.D. Cal. Jan. 24, 2018) (denying defendant’s motion for summary

judgment), Rios v. New York & Co., Inc., No. 2:17-cv-04676-ODW(AGRx), 2017 WL

5564530, at *7 (C.D. Cal. Nov. 16, 2017) (denying defendant’s motion for judgment

on the pleadings); Access Now, Inc. v. Blue Apron, LLC, No. 17-cv-116-JL, 2017 WL

5186354, at *11 (D.N.H. Nov. 8, 2017) (Laplante, C.J.) (denying motion to dismiss);

Andrews v. Blick Art Materials, LLC, 268 F. Supp. 3d 381, 404 (E.D.N.Y. 2017)

(Weinstein, J.) (denying motion to dismiss); Gil v. Winn-Dixie Stores, Inc., 257 F.

Supp. 3d 1340, 1349 (S.D. Fla. 2017) (finding that the defendant, a large supermarket

chain, had violated the plaintiff’s rights under the ADA by failing to maintain an

accessible website after a non-jury trial).

         11.   Based on information and belief, it is Defendant’s policy and practice to

deny blind users, including Plaintiff, equal enjoyment of and access to

boarsheadresort.com.     Due to Defendant’s failure and refusal to remove access

barriers on boarsheadresort.com, Plaintiff and other blind and visually impaired
                                              5
Case 3:18-cv-00013-GEC Document 1 Filed 02/28/18 Page 6 of 12 Pageid#: 6




individuals have been denied equal enjoyment of and access to Defendant’s location

and to the other services, advantages, privileges, and accommodations offered to the

public through boarsheadresort.com.

       12.    Defendant denies blind individuals equal enjoyment of and access to

the services, privileges, advantages, and accommodations and information made

available through boarsheadresort.com by preventing them from freely navigating

boarsheadresort.com. Boarsheadresort.com contains access barriers that prevent the

full and equal enjoyment and use by Plaintiff and other blind persons using screen

reading software.

       13.    Boarsheadresort.com’s barriers are pervasive and include, but are not

limited to, the following:

       (1) Empty or missing form labels which present a problem because if a form

control does not have a properly associated text label, the function or purpose of that

form control may not be presented to screen reader users. Form labels provide visible

descriptions and larger clickable targets for form controls;

       (2) Empty button. A button is empty or has no value text. When navigating to

a button, descriptive text must be presented to screen reader users to indicate the

function of the button; and

       (3) Redundant Links where adjacent links go to the same URL address which

results in additional navigation and repetition for keyboard and screen reader users.

       14.    Due to the inaccessibility of boarsheadresort.com, blind and otherwise

visually impaired customers who use screen readers have been hindered from
                                     6
Case 3:18-cv-00013-GEC Document 1 Filed 02/28/18 Page 7 of 12 Pageid#: 7




effectively browsing for Defendant’s location, amenities and services, privileges,

advantages, and accommodations that exist online unlike sighted users.                If

boarsheadresort.com were accessible, Plaintiff would independently and privately

investigate Defendant’s services, privileges, advantages, and accommodations and

amenities, and found the location to visit via Defendant’s website as sighted

individuals can and do.

       15.    Despite several attempts to use boarsheadresort.com in recent months,

the numerous access barriers contained on Defendant’s website have denied

Plaintiff’s full and equal access, and deterred Plaintiff on a regular basis from

accessing Defendant’s website. Similarly, based on the numerous access barriers

contained on boarsheadresort.com, Plaintiff has been deterred from visiting

Defendant’s physical location that Plaintiff would have located and visited by using

boarsheadresort.com.

 COUNT I: Violations of the Americans with Disabilities Act, 42 U.S.C. §

                                     12181 et seq.

       16.    Plaintiff incorporates by this reference the allegations contained in the

preceding paragraphs as if fully set forth herein.

       17.    Section 302(a) of Title III of the ADA, 42 U.S.C. § 12181 et seq.,

provides: “No individual shall be discriminated against on the basis of disability in

the full and equal enjoyment of the goods, services, facilities, privileges, advantages,

or accommodations of any place of public accommodation by any person who owns,

leases (or leases to), or operates a place of public accommodation.” 42 U.S.C. §
                                            7
Case 3:18-cv-00013-GEC Document 1 Filed 02/28/18 Page 8 of 12 Pageid#: 8




12182(a).

       18.    Under Section 302(b)(2) of Title III of the ADA, unlawful

discrimination also includes, among other things: “a failure to make reasonable

modifications in policies, practices, or procedures, when such modifications are

necessary to afford such goods, services, facilities, privileges, advantages, or

accommodations to individuals with disabilities, unless the entity can demonstrate

that making such modifications would fundamentally alter the nature of such goods,

services, facilities, privileges, advantages or accommodations”; and “a failure to take

such steps as may be necessary to ensure that no individual with a disability is

excluded, denied services, segregated or otherwise treated differently than other

individuals because of the absence of auxiliary aids and services, unless the entity can

demonstrate that taking such steps would fundamentally alter the nature of the good,

service, facility, privilege, advantage, or accommodation being offered or would result

in an undue burden”. 42 U.S.C. § 12182(b)(2)(A)(ii)-(iii). “A public accommodation

shall take those steps that may be necessary to ensure that no individual with a

disability is excluded, denied services, segregated or otherwise treated differently

than other individuals because of the absence of auxiliary aids and services, unless

the public accommodation can demonstrate that taking those steps would

fundamentally alter the nature of the goods, services, facilities, privileges,

advantages, or accommodations being offered or would result in an undue burden,

i.e., significant difficulty or expense.” 28 C.F.R. § 36.303(a). In order to be effective,

auxiliary aids and services must be provided in accessible formats, in a timely
                                            8
Case 3:18-cv-00013-GEC Document 1 Filed 02/28/18 Page 9 of 12 Pageid#: 9




manner, and in such a way as to protect the privacy and independence of the

individual with a disability.” 28 C.F.R. § 36.303(c)(1)(ii). “The term ‘auxiliary aids

and services’ includes [] screen reader software.” 28 C.F.R. § 36.303(b)(2)

(emphasis added).

      19.    Defendant’s location is a “public accommodation” within the meaning

of 42 U.S.C. § 12181 et seq. Defendant generates millions of dollars in revenue from

the sale of its amenities and services, privileges, advantages, and accommodations in

Virginia through its location and related services, privileges, advantages, and

accommodations and boarsheadresort.com.          Boarsheadresort.com is a service,

privilege, advantage, and accommodation provided by Defendant that is inaccessible

to patrons who are visually-impaired like Plaintiff.      This inaccessibility denies

visually-impaired patrons full and equal enjoyment of and access to the facilities and

services, privileges, advantages, and accommodations that Defendant made available

to the non-disabled public through its website. Defendant violates the Americans

with Disabilities Act, 42 U.S.C. § 12181 et seq., in that Defendant denies visually-

impaired customers the services, privileges, advantages, and accommodations

provided by boarsheadresort.com and           connected to its places of public

accommodation. These violations are ongoing.

      20.    Defendant’s actions constitute discrimination against Plaintiff on the

basis of a disability in violation of the Americans with Disabilities Act, 42 U.S.C. §

12181 et seq. in that: Defendant has constructed a website that is inaccessible to

Plaintiff; maintains the website in this inaccessible form; and has failed to take
                                          9
Case 3:18-cv-00013-GEC Document 1 Filed 02/28/18 Page 10 of 12 Pageid#: 10




adequate actions to correct these barriers even after being notified of the

discrimination that such barriers cause.

       21.    Pursuant to 42 U.S.C. § 12188 and the remedies, procedures, and rights

set forth and incorporated therein, Plaintiff requests relief as set forth below.


   WHEREFORE, Plaintiff Keith Carroll prays that this Honorable Court grant the

following remedies:

       1.     For a judgment that Defendant violated Plaintiff’s rights under the

Americans With Disabilities Act, 42 U.S.C. § 12181 et seq.

       2.     For preliminary and permanent injunctive relief pursuant to 42 U.S.C. §

12188(a)(1) and (2), requiring Defendant to:

              a.      ensure that its website, boarsheadresort.com, is easily accessible

       by individuals who are visually-impaired and who use computers, including

       laptops, tablets, and smartphones;

              b.      ensure that individuals who are visually-impaired have an equal

       opportunity to participate in and benefit from the goods, services, facilities,

       privileges, advantages, and accommodations provided through its website;

              c.      adopt and implement website accessibility policies which ensure

       that its website is fully and equally accessible to the visually-impaired;

              d.      require any third party vendors who participate on its website

       ensure that it is fully and equally accessible to the visually-impaired;

              e.      make publicly available, and provide a direct link on the

                                            10
Case 3:18-cv-00013-GEC Document 1 Filed 02/28/18 Page 11 of 12 Pageid#: 11




      homepage of its website, to a statement of Accessibility Policy to ensure that

      the visually-impaired have full and equal enjoyment of its website;

             f.     provide quarterly mandatory website accessibility training to all

      employees who write or develop programs or code for, or who publish final

      content to, its website, as to how to conform all web content and services with

      criteria to ensure that the visually-impaired have full and equal enjoyment of

      its website; and

             g.     conduct quarterly automated accessibility test of its website to

      identify any instances where the website is no longer in conformance with

      criteria that ensures that the visually-impaired have full and equal enjoyment

      of its website;

      3.     For attorneys’ fees and expenses;

      4.     For costs of suit; and

      5.     A judgment for all such other relief as this Court deems just and proper.


                                  Respectfully submitted,

                                  /s/ Thomas E. Strelka
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                                         11
Case 3:18-cv-00013-GEC Document 1 Filed 02/28/18 Page 12 of 12 Pageid#: 12




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                                    12
